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DOCKET NO. 875 CLERA’S

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE ASBESTOS PRODUCTS LIABILITY LITIGATION (NO. VI)

Harry Davis, et al. v. AcandS, Inc., et al., E.D. Texas, C.A. No. 1:00-869

ORDER VACATING CONDITIONAL TRANSFER ORDER
AND VACATING THE MARCH 29, 2001 HEARING

A conditional transfer order was filed in the above-captioned action (Davis) on January 10,
2001. Prior to expiration of the mandatory fifteen-day stay of execution, plaintiffs in Davis filed
a notice of opposition to the proposed transfer and the subsequent motion and brief to vacate the
conditional transfer order. Davis was then remanded to the 58" Judicial District Court of
Jefferson County, Texas, by the Honorable Howell Cobb in an order signed on March 28, 2001.

IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-187" filed on January 10, 2001, be, and the same hereby is, VACATED insofar as it relates
to the above-captioned action.

IT IS FURTHER ORDERED that the Hearing Order and the attached Schedule filed on
February 13, 2001, be, and the same hereby are, VACATED insofar as they relate to the above-
captioned action.

FOR THE PANEL:

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Wm. Terrell Hodges
Chairman

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